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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:inrehillhotelvhanoverno24sa113november4,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;In Re &lt;span class="ldml-name"&gt;Hill Hotel&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;Hanover&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SA113&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-court"&gt;&lt;b class="ldml-bold"&gt;Supreme Court of Colorado&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 4, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;h2 class="ldml-opinionheading"&gt;&lt;div class="ldml-casehistory"&gt;&lt;span data-paragraph-id="97" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="97" data-sentence-id="120" class="ldml-sentence"&gt;ORIGINAL PROCEEDING&lt;/span&gt;
&lt;/span&gt;&lt;/div&gt;&lt;/h2&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="140" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="140" data-sentence-id="156" class="ldml-sentence"&gt;Order
 issued &lt;span class="ldml-entity"&gt;October 29, 2024&lt;/span&gt;&lt;/span&gt;
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